     USCA11 Case: 24-12883    Document: 14     Date Filed: 10/03/2024   Page: 1 of 4
Phoenix Ridge GA TC, LP v. City of Atlanta, Georgia, No. 24-12883-HH
Page 1 of 4

                    UNITED STATES COURT OF APPEALS
                       FOR THE ELEVENTH CIRCUIT

PHOENIX RIDGE GA TC, LP                   )
                                          )
        Appellant                         )
                                          )
v.                                        ) APPEAL NO. 24-12883-HH
                                          )
CITY OF ATLANTA, GEORGIA                  )
                                          )
        Appellee                          )
                                          )

     CITY OF ATLANTA, GEORGIA’S CERTIFICATE OF INTERESTED
        PERSONS AND CORPORATE DISCLOSURE STATEMENT

        Pursuant to Federal Rule of Appellate Procedure 26.1 and Eleventh Circuit

Rule 26.1-2, Appellee City of Atlanta, Georgia submits this Certificate of

Interested Persons and Corporate Disclosure Statement, stating that the following

is a complete list of all trial judges, attorneys, persons, associations of persons,

firms, partnerships, or corporations that have an interest in the outcome of this

particular case and appeal:

        Ambler, Robert R., Jr., attorney for Appellee City of Atlanta, Georgia;

        Baker & Hostetler LLP, attorneys for Appellant Phoenix Ridge GA TC, LP;

        Bauer, S. Derek, attorney for Appellant Phoenix Ridge GA TC, LP;

        City of Atlanta, Georgia, Appellee;

        Cohen, Mark H., trial judge;
  USCA11 Case: 24-12883      Document: 14     Date Filed: 10/03/2024   Page: 2 of 4
Phoenix Ridge GA TC, LP v. City of Atlanta, Georgia, No. 24-12883-HH
Page 2 of 4

       Gresham, Jarvarus A., attorney for Appellant Phoenix Ridge GA TC, LP;

       Lentz, Kurt E., attorney for Appellant Phoenix Ridge GA TC, LP;

       Millennia Housing Management, Ltd. LLC, corporate affiliate of Appellant

Phoenix Ridge GA TC, LP;

       Phoenix Ridge GA TC, LP, Appellant;

       Sinito, Frank T., owner of Appellant Phoenix Ridge GA TC, LP;

       White, Brendan H., attorney for Appellee City of Atlanta, Georgia;

       Whitley, Joe D., attorney for Appellee City of Atlanta, Georgia;

       Womble Bond Dickinson (US) LLP, attorneys for Appellee City of Atlanta,

Georgia.

       Appellee City of Atlanta, Georgia is a municipality created by the State of

Georgia and thus has no parent corporations, corporate subsidiaries, or corporate

affiliates to disclose.



       Respectfully submitted this the 3rd day of October, 2024.

                                WOMBLE BOND DICKINSON (US) LLP


                                By:    /s/ Robert R. Ambler, Jr.
                                       Joe D. Whitley
                                       Georgia Bar No. 756150
                                       Robert R. Ambler, Jr.
                                       Georgia Bar No. 014462
                                       Brendan H. White
 USCA11 Case: 24-12883      Document: 14    Date Filed: 10/03/2024   Page: 3 of 4
Phoenix Ridge GA TC, LP v. City of Atlanta, Georgia, No. 24-12883-HH
Page 3 of 4

                                     Georgia Bar No. 458315

1331 Spring Street N.W.
Suite 1400
Atlanta, Georgia 30309
Telephone: (404) 872-7000
Facsimile: (404) 888-7490
Email: Joe.Whitley@wbd-us.com
       Bob.Ambler@wbd-us.com
       Brendan.White@wbd-us.com

Attorneys for Defendant City of Atlanta, Georgia
 USCA11 Case: 24-12883      Document: 14     Date Filed: 10/03/2024      Page: 4 of 4
Phoenix Ridge GA TC, LP v. City of Atlanta, Georgia, No. 24-12883-HH
Page 4 of 4

                        CERTIFICATE OF SERVICE

      The undersigned certifies that the foregoing CITY OF ATLANTA,

GEORGIA’S       CERTIFICATE         OF       INTERESTED        PERSONS           AND

CORPORATE DISCLOSURE STATEMENT was filed electronically using the

CM/ECF system, which will automatically provide notice to all attorneys of record

by electronic means.



            This 3rd day of October, 2024.

                                             /s/ Robert R. Ambler, Jr.
                                             Robert R. Ambler, Jr.
                                             Georgia Bar No. 014462
